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EXHIBIT 6

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Sigrid S. McCawley, Esq.
E-mail: smecawley@bsfilp.com

March 10, 2016

Via Electronic Mail

Laura A. Menninger, Esq.

HADDON, MORGAN & FOREMAN, P.C.
150 East 10'" Avenue

Denver, Colorado 80203

Re: = Giuffre v. Maxwell,
Case no. 15-cv-07433-RWS

Dear Ms. Menninger:

This letter is to inform you of the form of Plaintiffs production and to seek an agreement
on the format of both parties’ productions going forward pursuant to Rule 34, Fed. R. Civ. P.

Per my March 8, 2016 letter, Plaintiff is preparing to make a first production of
documents and related privilege log on Wednesday, March 16, 2016, to Defendant in response to
Defendant's First Request for Production. Defendant's First Request for Production did not
specify a form for producing electronically stored information. Accordingly, pursuant to Rule
34(b)(2)(D), Fed. R. Civ. P., Plaintiff states that the she intends to produce the documents in the
form as described in the attached Stipulation.

By this letter, 1 am also seeking your agreement to the attached Stipulation relating to
USI. governing the parttes’ collection and production of documents in this case. If you agree,
please return the attached Stipulation to me with your signature, and please let me know a time in
the near future during which we can discuss search terms. | will then sign it and return a copy to
you for your records.

Kindly let me know of your agreement by Monday. March 14, 2016.

Sincerely, oe

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Sigrid S$. Mc@awley, Esq.

SSM/ep
Enclosure

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United States District Court
Southern District of New York

Virginia L. Giuffre,

Plaintiff, Case No.: ]5-cv-07433-RWS

Ghislaine Maxwell,

Defendant.

STIPULATED DISCOVERY PLAN
FOR ELECTRONICALLY STORED INFORMATION

Pursuant to Federal Rule of Civil Procedure 29. this Stipulated Discovery Plan for
Electronically Stored Information (the “Stipulation”) is entered into by and among the named
parties in the above-captioned action, through their respective counsel of record.

l. Definitions: For purposes of this Stipulation:

(a) The term “Plaintiff” refers to Virginia Giulfre

(b) The term “Defendant” reters to Ghislaine Maxwell.

(c) Che term “parties” refers collectively to Plaintiffand Defendant.

(d} The term “party” refers individually to Plaintiff or Defendant.

2. Electronic Discovery _- The Collection and Culling of ESI: In a joint effort to

balance the volume, relevance, and costs of the production and review process, the parties
stipulate to the following involving the handling and production of electronically stored
information (“FSI”).

(a) Counsel for Defendant and Plaintiff will correspond regarding custodians and

sources of documents from which they are collecting ESI tor production in the above-
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captioned action. The parties will work in good faith to identify, discuss, agree upon, and
revise, if necessary, the custodians and sources of documents from which ESI is collected and
reviewed for possible production in the matter to avoid an unduly burdensome production or
retrieving a large quantity of non-responsive ESI. The parties agree that search terms and other
techniques to identuly potentially responsive ESI for review and possible production may be
useful to allow document production to complete in a reasonable amount of time. To the
extent that a party plans to use search terms to identify potentially responsive ESI, the parties
agree to work in good faith to agree upon acceptable search terms that will assist in identifying
potentially responsive ESI.

To the extent practicable, the parties shall use informal procedures, agreed upon
through a meet-and-confer process, for the production of electronically stored information.
The parties have proposed this detailed Stipulation in satisfaction of their obligations under
Federal Rule of Civil Procedure 26(f)(3)(C) and to provide rules governing production of
electronically stored information in the event that the parties are unable to agree to informal
procedures that are satisfactory to all parties.

(b) In the event of a dispute or disagreement. the parties will meet and confer ina
good faith effort to resolve such dispute or disagreement which includes the production and
review of a limited sampling of the information sought. Further, insofar as this Stipulation
relates to the general protocol of identifying and producing ESI, any party may bring a motion
to modil'y or clarif\ the application of this Supulation to particular LSI or otherwise.

This Stipulation is designed, and shall be interpreted, to ensure a balance of the needs
of the party requesting electronic discovery to obtain all responsive documents and

information that can reasonably be produced while avoiding unnecessary burdens for the party

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responding to a request for production or other production requirement. Nothing in this
Stipulation is intended to be an exhaustive list of discovery obligations of a producing party or
tights of the requesting party. To the extent additional obligations or rights not addressed in
this Stipulation arise under the Federal Rules of Civil Procedure or applicable State or Federal
statutes. they shall be controlling. All parties reserve their rights under the Federal Rules of
Civil Procedure for matters relating to the production of information that are not specifically
addressed in this Stipulation.

(c) Each party shall make a reasonable and diligent effort to search for and collect
reasonably accessible and responsive ESI from the following sources fur each of its designated
custodian’s: active e-mail accounts utilized during the relevant time period, ESI stored on each
such custodian’s computer hard-drive. and other locations (to the extent agreed upon by the
parties) used by each such custodian to sture potentially responsive USL. The parties will filter
the ESI they collect using search terms agreed upon by the parties. Ifa party identifies ES]
that is not reasonably accessible but is likely to contain responsive non-duplicative
information, it will provide to the other party a description of the source of the ESI that it
claims is not reasonably accessible and the basis of the claim that the source is not reasonably
accessible. — (d) In addition, the parties shall collect reasonably accessible and
responsive ESI from their computers (including laptop and notebook computers), tablets,
mobile phones, electronic document repositories, or any other electronic file storage media, a
party identifies following a reasonable and diligent investigation, as hkely to contain
responsive ESI. The search terms will be run against the KSI collected from the locations and

devices listed above.

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3. Collection and Production of Hard Copy Documents: The parties agree to

conduct a reasonable search for and collect reasonably accessible, non-duplicative responsive
hard-copy data in the possession of agreed-upon custodians. ‘The parties agree 10 produce such
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hard copy documents in single-page TIFF tormat along with document level OCR text files
and the following fields in a Concordance load file as described in Section 5 below:
(i) Custodian (Name of Custodian from which the file is being produced);
(il) BegBates (Beginning Production Number):
(ii)  EndBates (Ending Production Number);
(iv) Page count; and
(v) Path to OCR text file.
Each partv shall bear the cost of converting the hard-copy paper documents it produces to

TIFF format and for providing the load file.

4, ESI - Processing and Production: The parties stipulate to the following regarding

the processing and production of documents that were originally maintained as ESE:

(a) EXCLUSIONS FROM PROCESSING: The parties may exclude from collection,
review, and production ESI or data with file extensions that typically contain no meaningful
user-created data and/or cannot be reviewed in any meaningful format. Specitically, the partics
agree that they may exclude (i) files with the following extensions (provided that the file
signature matches the extension): COM, .EXE, .BAT, .DLL, SYS, VAD, .BIN, ASH, ASM.
.B, BAS, .BCP, .C, .CPP. HH, .C++, .CPL, FRM, .MOD, .RH, .VB, .VBX, XLV, .RC and (i1)
those file types contained on the list established by the National Institute of Standards in
Technology (“NIST”) (collectively, the “Permitted Excluded Files’). To the extent that the
either party wishes to exclude file types not included within the Permitted Excluded Files from

processing, the parties will mect and confer to regarding any such request.
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To the extent responsive, audio, video, photo, and other media files such as stand-alone
audio, video. or graphic shall be produced in their native format. ‘fo the extent it would be
impractical to produce responsive ESI as it is kept in the normal course of business the parties
will meet and confer concerning the collection and production of those reports.

(b) DE-DUPLICATION, In order to reduce the volume of documents reviewed and
produced, each party shall de-duplicate EST using the SHAl or MDS5 hash value. Such de-
duphieation will be done across the universe of all ESI produced and will be performed at the
family level. De-duplicated originals and metadata shall be securely retained.

(c)  NON-E-MAIL ESI: The native format of all non-e-mail ESI will be maintained
by each party, Non-c-mail EST will be produced in single-page TIP format (except for non-
redacted Excel documents, which shall be produced in native format with a TIFF placeholder
pursuant to Section 4(f) hereof) and corresponding document-level extracted text (or OCR for
documents that are redacted) with the following metadata fields, to the extent available, in a
Concordance load file as described in Section 5 below:

(i) Custodian (Name of Custodian from which file is being produced);

Gi) Author (Author of file from properties);

(iii) Doe Title (Title of file from properties);

(iv) Doe Subject (Subject of file from properties);

{v) Created Date (the date the file was created. in YYYYMMODD_ or
MM/DD/YYYY format):

(vi) Created Time (the time the file was created in HH:MM:SS format);

(vii) Last Modified Date (the date the file was created in YYYYMMODD or
MM/DD/YY YY format):

(viii) Last Modified Time (the time the file was created in HH:MM:SS format);

(ix) File Name (name of the file);

(x) File Ext (extension for the file):

(xi) Hash (SHA or MDS hash value, or equivalent);

(xu) BegBates (beginning production number);

(xiii) EndBates (ending production number);

(xiv) BegAtt (BegBates of first document in the family)

(xv) EndAtt (EndBates of last document in the family)
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(Xvi)

ParentlD (field contains the BegBates for the parent document (usually an
e-mail) and is populated for all attachments within the family group);

{xvil) AttachID (field contains the BegBates number for each attachment within

the family group and is populated for the parent document within a family
groupk

(xvill) Page count;

(xix)

For non-redacted Excel spreadsheets only, a native link (path to the native
file as included in the production, c.g.,
d:\PRODOO I \natives\ABCO00015.xIs or

d:\PRODOO1\natives\ABCO0025 ppt). A TIFF placeholder with a link to
the native files ts required,

(d) ELECTRONIC MAIL: The native format of all electronic mail shall be

maintained by the parties. Electronic mail shall be produced in single-page ‘TIFF format and

corresponding document-level extracted text (or OCR for redacted documents) with the

following metadata fields, to the extent available, in a Concordance-ready load tile as described

in Section 5 below (except for attachments that are non-redacted Excel spreadsheets, which shall

be produced in native format with a TIFF placcholder pursuant to Section 4(f) hereof):

(1)
(11)
(i)
(iv)
(v)
(v1)
(vii)

(vill)

(1x)

(x)
(x1)
(xii)
(XU)
(xiv)
(xv)
(xvi)

(Xvi)

Custodian (name of custodian from which file is being produced);

From:

GG

BCC:

To:

Hash (SHAL or MD5 hash value, or equivalent);

Sent Date (date the e-mail was sent in YYYYMMDD or MM/DD/YYYY
format);

Sent Time (time the e-mai! was sent in HH:MM:SS format);

Received Date (date the email was received in YYYYMMDD or
MM/DD/YY YY format):

Received Time (time the email was received in H]H:MM:SS format);

File Ext (extension for the file):

BegBates (beginning production number):

EndBates (ending production number);

BegAtt (BegBates of the first decument in the family);

EndAtt (EndBates of last document in the family);

ParentID (field contains the BegBates for the parent document (usually an
e-mail) and is populated for all attachments within the family group);
AttachID (field contains the BegBates number for each attachment within
the family group and is populated for the parent document within a family

group):
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(xvill) Page count;
(xix) Email Subject.

Electronic mail shall be produced along with attachments in sequential order as part of a
family, maintaining the parent-child relationship, to the extent the message or any attachment is
responsive. If any message or attachment is responsive but is withheld based on privilege, the
entire family may be withheld (to the extent necessary to protect privilege} provided, however,
that if an email or attachment withheld pursuant to this sentence is not subject to an independent
claim of privilege, the party withholding such email or attachment will ensure that it is otherwise
included in its production.

(e) REDACTED ESI: Production of redacted ESI shall be subject to the general
production requirements set forth herein, however the following metadata need not be provided
for documents that are redacted: Doc Title, Doe Subject, Filename, Email Subject. Further, for
each document that is redacted, the field “Redacted” shall be populated with the value “Yes” and
OCR text files of the redacted document shall be provided.

(f) EXCEL SPREADSHEETS AND OTHER DATA THAT DOES NOT EASILY
LEND ITSELF TO TIFFING: All Excel spreadsheets and other data that does not easily lend
itself to TIFFing, including but not limited to, CSV files, audio files, and video files, shall be
produced in native format with a TIFF placeholder, except if an Excel spreadsheet must be
redacted in which case it shall be produced in TIFF format (provided, however, that if the party
receiving a redacted Excel spreadsheet in TIFF format determines that a native version is
necessary, the party producing the Excel spreadsheet shall make available a native version of the
Excel spreadsheet with any redactions necessary to protect privilege (1e. not the original native
file)). This paragraph shall apply to all such ESI irrespective of whether it takes the form of

standalone files or attachments to e-mails or other files. To the extent that any Excel spreadsheet
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requires a confidentiality legend, the TIFF placeholder shall contain such confidentiality legend,
and the filename of the Excel spreadsheet shall also include such confidentiality legend.

(2) 7ZJP FILES: All compressed or zipped ESE shall be unzipped or decompressed
before production. To the extent a responsive, non-privileged electronic file contains embedded
files, or links to other files, such embedded files or links to other files do not need to be produced
initially, but to the extent the receiving party determines they are necessary, the parties will meet
and confer regarding production of the native files. The parties agree that they need not produce
all files in a zip folder in the event any individual file in the zip folder is responsive. To the
extent that there are multiple files within a zip folder, each shall be considered a single document
with respect to determining responsiveness (unless attached to an email, in which case the
protocol in subsection (d) hereof shall apply).

(hy) The parties agree to meet and confer in good faith if there are any other fle types
that encounter difficulties in the production preparation process and will discuss native
production of such files if necessary.

5. Production of ESI & Hard Copy Documents: The parties agree to the following

regarding production of all documents:
(a) The production of all documents shall be in Concordance-ready format and the
following load files will be produced:
(1) Opticon load file compliant with Concordance to load the images;
(it) Document level extracted text or OCR (for documents that have been
redacted or documents without extractable text);
(it) DAT file containing the fields specified herein, with the field names as

otherwise provided herein, in the first row. The .DAT file shall be
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provided with the following hierarchy of delimiters: field - (ASCII 20),
quote - (ASCTT 254), return value in data - (ASCILE 174).

(b) Each page of a produced document shall have a legible, unique page identifier
(“Bates Number”) electronically “burned” onto the image. Additionally, any applicable
confidentiality legend shall be “burned” into the document image. No other legend or stamp will
be placed on the document image other than a confidentiality legend or redactions (where
necessary to protect the attorney-client communication privilege, work product doctrine, or other
protection). If the page identifier or legend inadvertently obliterates, conceals, or interferes with
any information from the source document, the receiving party shall request and the producing
party shall produce a legible copy.

(c) Each page image file shall be named with the unigue Bates Number of the page of
the document in the case of single-page TIFFs, followed by the extension “TIF.”

(d) The parties shall honor reasonable and specific written requests for the production
of native versions of files and volor images to the extent such requests are not unduly
burdensome, subject to any necessary redactions to protect the attorney-client or other privileges.

(e) The parties shall honor reasonable and specific written requests to make originals
of any produced document available for inspection and copying, subject to any necessary
redactions to protect the attorney-client or other privileges.

(1) The parties reserve the right to seek and to object to the costs arising from any
discovery or from any improper conduct or bad faith of the litigants.

6. Clawback Provision: The parties apree that clawbacks of any inadvertently
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produced privileged material shall be made upon notice to the other party
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BOIES, SCHILLER & FLEXNER LLP HADDON, MORGAN & FOREMAN, P.C.
Sigrid MeCawley (Pre Hae Vice) Laura A. Menninger, Esq.

401 EF. Las Olas Blvd., Suite 1200 150 East 10" Avenue

Ft. Lauderdale, FL 33301 Denver. Colorado 80203

Tel: (954) 356-0011 Tel: (303) 831-7364

Fax: (954) 356-0022 Fax: (303) 832-2628

Email: smecawley@bsfllp.com Email: Imenninger@ hbmilaw.com

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